                                   UNITED STATES COURTS
                               EASTERN DISTRICT OF NEW YORK
                                  QUALITY CONTROL CHECK
                                    ATTORNEY CASE OPENINGS
                                                  Corrections
     Were Corrections made to this ACO case?                                      ✔       Yes            No
 1      Attorney did not complete the initiating documents.
        Checked on http://www.nyed.circ2.dcn/cfm/ecf/atyopencase.cfm to determine who the
        attorney was that attempted to file the case and contacted that attorney in order to retrieve
        Complaint, Cover Sheet, Summons, and payment information or to advise the attorney to
        file the initiating documents.
 2      Court Designation was incorrect. Copied case, changed Court designation, deleted
        incorrect case and advised other Court. This is in conjunction with Paragraph 10-NY-E
        Division of Business Rule 50.1(d)(2)
 3      Attorney did not separate the initiating document. Separated document into individual
        attachments. Replaced Main document and attached the cover sheet and Summons (if
        applicable).
 4      Attorney did not include           Complaint             Cover Sheet           Summons
        Contacted attorney and retrieved missing document from attorney.
 5      Attorney used               Incorrect Form of Summons                 Defendant’s name and
        address not completed            Plaintiff’s attorney name and address not completed.
          Caption on the summons does not match caption on the complaint.
                  Incorrect Date.       Incorrect Case Number
        Contacted attorney and requested a corrected summons.

 6      Attorney used incorrect event when docketing the initiating document.
        Deleted document and re-docketed using the correct event.
 7              Corrected Party Role                  Party spelling       $GGHG&RUSRUDWH3DUHQWV
             ✔  Added missing Party
                Converted from All Caps to Initial Caps                                                   ✔
                Added party text             Removed party text            Added alias
 8      Corrected Short Title                                                                                 ✔
 9      Corrected         Basis of Jurisdiction ✔ $UELWUDWLRQ&RGH ✔ Citizenship of Principal Parties
                          Nature of Suit          Cause of Action     Fee Status ✔ County Code            ✔
                          Dollar Demand           Jury Demand         Class Action     Origin
 10     NY-E Division of Business Rule 50.1(d)(2) was not completed. Contacted attorney and
        retrieved corrected cover sheet and replaced on docket sheet.
 11                                Added case in other court to docket sheet.
 12        Added/Corrected Disclosure Statement question and response in docket entry
 13                Page 1, Question 1(b) Plaintiff's county of residence was not indicated
 14                      Page 2, Question 2(c) was not completed or is inconsistent
 15                         Certification of Arbitration Eligibility not completed
Other
